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 6
                            UNITED STATES DISTRICT COURT
 7
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE

 9   GERALD JACKSON, ROSLYN JACKSON
     and DEAN MELLOM, individually and on               NO. 2:19-cv-1281
10
     behalf of all others similarly situated,
11
                                Plaintiffs,             CLASS ACTION COMPLAINT
12

13      v.

14   THE ALIERA COMPANIES, INC., a
     Delaware corporation; ALIERA
15
     HEALTHCARE, INC., a Delaware
16   corporation; TRINITY HEALTHSHARE,
     INC., a Delaware corporation,
17

18
                                Defendants.

19                                            I.   PARTIES
20           1.   Plaintiffs GERALD and ROSLYN JACKSON are citizens of Washington
21   state and residents of Lynnwood, Washington in Snohomish County. Mr. and Mrs.
22   Jackson were enrolled in Aliera Healthcare/Trinity Healthshare at all times relevant to
23   this Complaint.
24           2.   Plaintiff DEAN MELLOM is a citizen of Washington state and a resident
25   of Stanwood, Washington in Snohomish County. Mr. Mellom was enrolled in Aliera
26   Healthcare/Trinity Healthshare at all times relevant to this Complaint.

                                                                         SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 1                                    SPOONEMORE HAMBURGER PLLC
                                                                     3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
                                                                   TEL. (206) 223-0303 FAX (206) 223-0246
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 1
            3.        Defendant THE ALIERA COMPANIES, INC. is a Delaware corporation
 2
     headquartered in Atlanta, Georgia. Based on information and belief, it is the parent
 3
     corporation of Aliera Healthcare, Inc.
 4
            4.        Defendant ALIERA HEALTHCARE, INC. is a Delaware corporation
 5
     headquartered in Atlanta, Georgia. It is incorporated as a for-profit business, without
 6
     any express religious affiliation. Collectively, defendants The Aliera Companies, Inc.
 7
     and Aliera Healthcare, Inc. are referred to as “Aliera.”
 8
            5.        Defendant TRINITY HEALTHSHARE, INC. (“Trinity”) is a Delaware
 9
     corporation headquartered in Atlanta, Georgia. Trinity was incorporated on or about
10
     June 27, 2018.
11
            6.        Trinity represents itself as a Health Care Sharing Ministry (“HCSM”), even
12
     though it has not been in existence continuously since December 31, 1999. See 26 U.S.C.
13
     § 5000A.
14
            7.        Aliera markets, sells, and administers insurance plans for Trinity and is
15
     solely responsible for the development of HCSM plan designs, pricing, marketing
16
     materials, vendor management, recruitment and maintenance of a sales force on behalf
17
     of Trinity.
18
            8.        Neither Aliera nor Trinity are authorized or licensed to provide any type
19
     of insurance plan in Washington state.
20
                                    II. JURISDICTION AND VENUE
21
            9.        Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1332(a) and § 1367
22
     because there is diversity of citizenship and the amount in controversy related to the
23
     proposed class claims exceeds $75,000.
24

25

26


                                                                           SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 2                                      SPOONEMORE HAMBURGER PLLC
                                                                        3101 WESTERN AVENUE, SUITE 350
                                                                           SEATTLE, WASHINGTON 98121
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
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 1
            10.     Venue is proper because some of the acts or omissions occurred in the
 2
     district and the named Plaintiffs and many of the proposed Plaintiff class members
 3
     reside in the district.
 4
                                     III. NATURE OF THE CARE
 5
            11.     Defendants unfairly and deceptively marketed, sold and administered
 6
     unauthorized insurance plans to Washington residents without having obtained the
 7
     required approval for insurance plan(s) from the Washington state Insurance
 8
     Commissioner.
 9
            12.     The unauthorized insurance plans marketed, sold, and administered by
10
     Defendants did not meet the minimum benefits, coverage and other requirements for
11
     health insurance in Washington state. As a result, the insurance plans sold to Plaintiffs
12
     and class members were illegal contracts.
13
            13.     Defendants’ representations that the insurance plans were HCSM plans
14
     was unfair and deceptive. At no relevant time did the Defendants’ plans meet the
15
     requirements for HCSMs.
16
            14.     Plaintiffs, on behalf of the class they seek to represent, filed this lawsuit to
17
     obtain declaratory and injunctive relief to prevent Defendants from continuing to
18
     market, sell and administer unauthorized and illegal health insurance plans in
19
     Washington state. On behalf of the proposed class and on their own behalf, Plaintiffs
20
     also seek damages related to uncovered health care expenses, premiums paid and other
21
     losses due to Defendants’ marketing, sale and administration of unauthorized health
22
     insurance plans.
23

24

25

26


                                                                            SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 3                                       SPOONEMORE HAMBURGER PLLC
                                                                         3101 WESTERN AVENUE, SUITE 350
                                                                            SEATTLE, WASHINGTON 98121
                                                                       TEL. (206) 223-0303 FAX (206) 223-0246
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 1                                 IV. CLASS ALLEGATIONS

 2         15.    Definition of Class: Pursuant to Fed. R. Civ. P. 23, Plaintiffs bring this

 3   action on behalf of themselves and all persons similarly situated. The proposed Class is

 4   defined as follows:

 5                All Washington residents who purchased insurance plans
                  from any of Defendants that purported to be “health care
 6
                  sharing ministry” plans at any time since June 27, 2018, where
 7                the plans were not approved or authorized for sale by the
                  Washington Office of the Insurance Commissioner.
 8
           16.    Size of the Class: The Plaintiffs’ proposed class are so numerous that
 9
     joinder of all members is impracticable. Aliera represents that it has 100,000 members
10
     nationwide and, based upon information and belief, thousands of those members were
11
     or are Washington state residents enrolled in the sham Trinity HCSM plan(s).
12
           17.    Common Questions of Fact and Law: There are questions of law and fact
13
     that are common to all class members including: (1) whether the healthcare products
14
     that the Defendants marketed, sold and administered to class members met the legal
15
     requirements of a HCSM under 26 U.S.C. §5000A; (2) whether Washington Insurance
16
     law and regulations forbid the marketing, sale and administration of health care
17
     products that engage in the “business of insurance” without authorization or other legal
18
     exception; (3) whether Defendants failed to obtain proper authorization for the
19
     marketing, sale and administration of an insurance product in Washington state;
20
     (4) whether class members are entitled to (a) rescission of the plan(s) and refund of all
21
     premiums paid and/or (b) reformation of the plans in compliance with the minimum
22
     insurance coverage requirements of Washington state, and processing of all claims for
23
     expenses and costs incurred that would have been covered had the plan(s) properly
24
     complied with Washington insurance law; (5) whether Defendants’ actions were
25
     “unfair” and “deceptive” under the Washington Consumer Protection Act; and
26


                                                                        SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 4                                   SPOONEMORE HAMBURGER PLLC
                                                                    3101 WESTERN AVENUE, SUITE 350
                                                                       SEATTLE, WASHINGTON 98121
                                                                  TEL. (206) 223-0303 FAX (206) 223-0246
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 1
     (6) whether class members are entitled to other damages, including statutory treble
 2
     damages, resulting from defendants’ unfair and deceptive acts.
 3
            18.    Class Representatives: The claims of the named Plaintiffs are typical of the
 4
     claims of the proposed class as a whole resulting from Defendant’s sale unauthorized
 5
     insurance plan(s). The named Plaintiffs will fairly represent and adequately protect the
 6
     interests of the class members because each of them have been subjected to the same
 7
     practices as other class members and suffered similar injuries. The named Plaintiffs do
 8
     not have interests antagonistic to those of other class members as to the issues in this
 9
     lawsuit.
10
            19.    Separate Suits Would Create Risk of Varying Conduct Requirements. The
11
     prosecution of separate actions by class members against Aliera/Trinity would create a
12
     risk of inconsistent or varying adjudications with respect to individual class members
13
     that would establish incompatible standards of conduct. Certification is therefore proper
14
     under Fed. R. Civ. P. 23(b)(1).
15
            20.    Defendants Have Acted on Grounds Generally Applicable to the Class.
16
     Defendants Aliera and Trinity have uniformly marketed, sold and administered
17
     unauthorized health insurance plans, misrepresenting the plans as HCSM plans.
18
     Defendants have acted on grounds generally applicable to the proposed class, rendering
19
     declaratory and injunctive relief appropriate respecting the whole class. Certification is
20
     therefore proper under Fed. R. Civ. P. 23(b)(2).
21
            21.    Questions of Law and Fact Common to the Class Predominate Over
22
     Individual Issues. The claims of the individual class members are more efficiently
23
     adjudicated on a class-wide basis. Any interest that individual members of the class may
24
     have in individually controlling the prosecution of separate actions is outweighed by the
25
     efficiency of the class action mechanism. Upon information and belief, no class action
26


                                                                        SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 5                                   SPOONEMORE HAMBURGER PLLC
                                                                     3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
                                                                   TEL. (206) 223-0303 FAX (206) 223-0246
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 1
     suit is presently filed or pending against Aliera/Trinity for the relief requested in this
 2
     action. Issues as to Aliera’s and Trinity’s conduct in applying standard marketing, sales
 3
     and administration practices towards all members of the class predominate over
 4
     questions, if any, unique to members of the class. Certification is therefore additionally
 5
     proper under Fed. R. Civ. P. 23(b)(3).
 6
            22.    Venue. This action can be most efficiently prosecuted as a class action in
 7
     the Western District of Washington, where Defendants do business and where Plaintiffs
 8
     reside. The case is properly assigned to the Western District of Washington in Seattle
 9
     because the claims of the named Plaintiffs arose in Snohomish County Washington
10
     where Plaintiffs reside.
11
            23.    Class Counsel.      Named Plaintiffs have retained experienced and
12
     competent class counsel.
13
                                  V. FACTUAL BACKGROUND
14
            24.    During certain times on and after June 27, 2018, when Defendant Trinity
15
     was incorporated, Plaintiffs and members of the class have been, are or will be enrolled
16
     in healthcare products marketed, sold, and administered by Defendants that Defendants
17
     claimed were HCSM plans.
18
                  Aliera Created Trinity as a Sham Health Care Service Ministry
19                       to Avoid ACA and State Insurance Requirements
20          25.    Defendant Aliera Healthcare, Inc. was incorporated in the State of
21   Delaware by Shelley Steele and her husband Timothy Moses and their son Chase Moses.
22          26.    Its scope of business was “to engage in the business of providing all models
23   of Health Care to the general public” and “to cultivate, generate or otherwise engage in the
24   development of ideas or other businesses. To buy, own or acquire other businesses, to
25   market and in any way improve the commercial application to the betterment and pecuniary
26   gain of the corporation and its stockholders …”

                                                                          SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 6                                     SPOONEMORE HAMBURGER PLLC
                                                                      3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
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 1
               27.   Aliera Healthcare, Inc. does not include any discussion of religious or
 2
     ethical purpose or mission in its incorporation documents.
 3
               28.   Aliera   contracted with    Unity   Healthshare   LLC       (“Unity”)        from
 4
     approximately February 1, 2017 to on or about August 10, 2018.
 5
               29.   Unity was an LLC created and wholly owned by Anabaptist Health Share.
 6
               30.   The Centers for Medicare and Medicaid Services (“CMS”) provided a letter
 7
     to Anabaptist Health Share that it met the requirements under 26 U.S.C. § 5000A to
 8
     operate a HCSM. Specifically, CMS found that Anabaptist Health Share had been “in
 9
     existence at all times since December 31, 1999 and medical expenses of its members have
10
     been shared continuously and without interruption since December 31, 1999.”
11
               31.   The United States Department of Health and Human Services certified that
12
     Anabaptist Health Share was an HCSM.
13
               32.   The contract between Aliera and Unity allowed Aliera to offer health
14
     products to the public that did not meet the insurance benefit and coverage requirements
15
     required by the Affordable Care Act and/or state insurance mandates, pursuant to 26
16
     U.S.C. § 5000A. In return, Aliera’s customers would join the Unity HCSM, increasing
17
     members to the Anabaptist Health Share.
18
               33.   Under the contract, Aliera was to retain only $25 per member per month
19
     for its administrative services to Unity.
20
               34.   Under the contract, Aliera was responsible for maintaining and
21
     segregating the assets received that were reserved for payment of benefits to Unity
22
     members.
23
               35.   In 2018, Anabaptist Health Share learned that Aliera had not properly
24
     maintained assets reserved for payment of benefits and requested an accounting of the
25
     assets.
26


                                                                        SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 7                                   SPOONEMORE HAMBURGER PLLC
                                                                     3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
                                                                   TEL. (206) 223-0303 FAX (206) 223-0246
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 1
             36.    On July 25, 2018, Anabaptist Health Share requested that Aliera turn over
 2
     control of all Unity funds.
 3
             37.    On August 10, 2018 Anabaptist Health Share and Unity terminated the
 4
     agreement with Aliera.
 5
             38.    Trinity was created by Aliera and its principals on or about June 27, 2018.
 6
             39.    Trinity was created to be an alternative HCSM for Aliera to Unity.
 7
             40.    The CEO of Trinity was a former Aliera employee, William Rip Theede, III.
 8
             41.    Mr. Theede was also a close family friend of the Moses family and
 9
     officiated at Chase Moses’ wedding.
10
             42.    On or about August 13, 2018, Aliera signed an agreement with Trinity to
11
     provide marketing, sale and administration of HCSM plans.
12
             43.    According to the agreement, Trinity had no members in its HCSM at that
13
     time.
14
             44.    Aliera issued a notice to Unity members on November 15, 2018 to
15
     “announce” its new HCSM partner, Trinity.
16
             45.    A lawsuit between Aliera and Anabaptist Health Share/Unity was filed in
17
     Superior Court of Fulton County Georgia in late 2018. See Aliera Healthcare v. Anabaptist
18
     Health Share et al., No. 2018-cv-308981 (Hon. Alice D. Bonner, Ga. Sup. Ct.).
19
             46.    As a result of the lawsuit, a court-ordered Receiver now monitors Aliera’s
20
     administration of HCSM assets and benefits for Unity members. See Appendix A, Order
21
     Entering Interlocutory Injunction and Appointing Receiver dated April 25, 2019.
22
                   Aliera/Trinity Market, Sell and Administer Sham HCSM Plans
23
             47.    After Trinity was created, Aliera and Trinity marketed, sold and
24
     administered sham HCSM plans.
25

26


                                                                         SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 8                                    SPOONEMORE HAMBURGER PLLC
                                                                      3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
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 1
               48.   Defendants recruited prospective agents to sell their sham HCSM plans,
 2
     offering the opportunity to sell “the next generation of healthcare products” and
 3
     suggesting that they can offer employers “a healthcare plan that saves money.”
 4
               49.   Their advertisement for prospective agents does not mention a religious or
 5
     ethical component for purchasers of these plans.
 6
               50.   The training materials for agents does not mention a religious motivation
 7
     for agents-in-training nor for would-be purchasers of these plans.
 8
               51.   While prospective agents must take a training assessment, the questions
 9
     asked in the assessment do not address any religious or ethical motivation.
10
               52.   In a video posted to YouTube dated November 1, 2018, an unidentified
11
     Aliera trainer for new or prospective agents discussed the Aliera Healthcare Enrollment
12
     Process.
13
               53.   According to the video, in order to enroll in Aliera, the consumer must
14
     positively respond to a number of questions.
15
               54.   The first question asks if the consumer agrees with Trinity’s “statement of
16
     faith:”
17
                     At the core of what the Healthcare Sharing Ministry does,
18                   and how they relate to and engage with one another as a
                     community of people is a set of common beliefs.
19

20                   1. We believe that our personal rights and liberties originate
                     from God and are bestowed on us by God. 2. We believe that
21                   every individual has a fundamental religious right to
                     workshop God in his or her own way. 3. We believe it is our
22
                     moral and ethical obligation to assist our fellow man when
23                   they are in need according to our available resources and
                     opportunity. 4. We believe it is out spiritual duty to God and
24
                     our ethical duty to others to maintain a healthy lifestyle and
25
                     avoid foods, behaviors or habits that produce sickness or
                     disease to ourselves or others. 5. We believe it is our
26                   fundamental right of conscience to direct our own healthcare,

                                                                          SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 9                                     SPOONEMORE HAMBURGER PLLC
                                                                      3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
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 1                 in consultation with physicians, family or other valued
                   advisors.
 2
                   o Yes
 3
                   o No
 4
            55.    The training explains what the “statement of faith” means:
 5

 6
                   Just to give you a general overall synopsis of what it's saying
                   … It basically is saying that you believe in a higher power. It
 7                 doesn't necessarily have to be a Christian God, or a Buddhist
                   God, or a Jewish God. It doesn't … it doesn't matter as long as
 8
                   we all believe that there is a higher power and we're all living
 9                 our life that the best way that we possibly can. We're
                   maintaining a healthy lifestyle. We're trying to avoid those
10                 types of foods, behaviors, habits - things that, you know, cause
                   us illness that are in our control.
11

12                 As long as we're doing those types of things, we're all like-
                   minded individuals. So if you feel that way, and you are a like-
13                 minded individual, that's all we're trying to find out. And, if
                   you are, you're gonna say, “Yes,” you believe in the five same
14
                   statement of beliefs that we all do.
15
            56.    The same “statement of faith” is included in the Aliera Healthcare
16
     marketing brochure received by at least one of the named Plaintiffs. See Appendix B.
17
            57.    The “statement of faith” in the Aliera/Trinity marketing brochure and
18
     training materials is different from that in Trinity’s own bylaws.
19
            58.    Under the agreement between Aliera and Trinity, Aliera has the
20
     contractual right to “agree upon” Trinity’s statement of faith.
21
                       Washington Office of the Insurance Commissioner’s
22                            Investigation of Aliera and Trinity
23          59.    The Washington Office of the Insurance Commissioner (“OIC”) received

24   more than a dozen consumer complaints about Aliera/Trinity in 2018-2019.

25

26


                                                                         SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 10                                   SPOONEMORE HAMBURGER PLLC
                                                                      3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
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 1
           60.    It conducted a formal investigation in response to the complaints and
 2
     concluded that Trinity did not meet the statutory definition of a HCSM under state and
 3
     federal law. See Appendix C.
 4
           61.    The OIC further concluded that Aliera acted as an unauthorized health
 5
     care service contractor without being registered and was doing business as an unlicensed
 6
     discount plan organization.
 7
           62.    The OIC also found that Aliera’s advertisements on behalf of Trinity were
 8
     deceptive and had the capacity to mislead or deceive consumers into believing that they
 9
     purchased insurance.
10
           63.    On May 13, 2019, the OIC issued “Orders to Cease and Desist” to Aliera
11
     and Trinity. See Appendices D and E.
12
                        Plaintiffs Were Sold Sham Products by Aliera/Trinity
13                          That Did Not Provide the Benefits Promised
14         64.    Plaintiff Dean Mellom enrolled in AlieraCare in January 1, 2018, while
15   Aliera partnered with Unity.
16         65.    His plan through Aliera/Unity was transferred to Aliera/Trinity in
17   October 1, 2018.
18         66.    His monthly premium payments were approximately $473.88 per month.
19   See Appendix F.
20         67.    Mr. Mellom received what he believed was an insurance card from
21   Aliera/Trinity. See Appendix G. The insurance card stated that AlieraCare Trinity was
22   a “Health Care Sharing Ministry recognized pursuant to 26 U.S.C. § 5000A(d)(2)(B)” even
23   though Trinity was not certified or “recognized” by any government agency as an
24   HCSM.
25

26


                                                                       SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 11                                 SPOONEMORE HAMBURGER PLLC
                                                                    3101 WESTERN AVENUE, SUITE 350
                                                                       SEATTLE, WASHINGTON 98121
                                                                  TEL. (206) 223-0303 FAX (206) 223-0246
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 1
            68.     Mr. Mellom’s claims for coverage of various health procedures, including
 2
     surgery, were denied due to a 24-month waiting period.              Had AlieraCare Trinity
 3
     complied with Washington law, it could not impose a 24-month waiting period.
 4
            69.     Mr. Mellom has been forced to pay, out-of-pocket, for services he
 5
     understood would be covered by AlieraCare Trinity. He continues to be pursued for
 6
     these debts.
 7
            70.     Plaintiffs Gerald and Roslyn Jackson enrolled in AlieraCare with Trinity
 8
     on January 1, 2019.
 9
            71.     The Jacksons paid a monthly premium of $1,205.77 to AlieraCare.
10
            72.     They received an insurance card that stated that AlieraCare was a “Health
11
     Care Sharing Ministry recognized pursuant to 26 U.S.C. § 5000A(d)(2)(B)” even though
12
     neither AlieraCare or Trinity Care were certified or “recognized” by any government
13
     agency as an HCSM. See Appendix H.
14
            73.     Mrs. Jackson requires a monthly infusion to treat her arthritis, and is
15
     followed by the Seattle Arthritis Clinic at Northwest Hospital and Medical Center, UW
16
     Medicine.
17
            74.     When UW Medicine submitted its claims for Mrs. Jackson’s March 2019
18
     infusion and other treatment, all of the claims were denied in full.
19
            75.     The Jacksons have been forced to pay, out-of-pocket, for services that
20
     would have been covered by AlieraCare had it complied with Washington law. They
21
     continue to be pursued for these debts.
22
                                      VI. CLAIMS FOR RELIEF
23
     A.     Illegal Contract
24
            76.     Plaintiffs reallege all prior allegations as though fully stated herein.
25

26


                                                                           SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 12                                     SPOONEMORE HAMBURGER PLLC
                                                                        3101 WESTERN AVENUE, SUITE 350
                                                                           SEATTLE, WASHINGTON 98121
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
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 1
            77.    Defendants sold Plaintiffs and all members of the proposed class
 2
     unauthorized health insurance plan(s) in violation of Washington law. Plaintiffs and all
 3
     members of the proposed class are entitled to either (a) rescission of the illegal contract(s)
 4
     and return of the insurance premiums paid; or (b) reformation of the illegal contract(s)
 5
     to comply with the mandatory minimum benefits and coverage required under
 6
     Washington law.
 7
     B.     Violation of the Washington Consumer Protection Act
 8
            78.    Plaintiffs reallege all prior allegations as though fully stated herein.
 9
            79.    Defendants’ marketing, sale and administration of unauthorized health
10
     insurance plan(s) to class members constitutes unfair and deceptive acts under the
11
     Washington Consumer Protection Act. Under the Act, Plaintiffs and members of the
12
     proposed class are entitled to damages, injunctive relief, statutory treble damages (up to
13
     $25,000 for each violation) and attorneys’ fees and costs.
14
                                     VII. PRAYER FOR RELIEF
15
            80.    WHEREFORE, Plaintiffs request that this Court:
16
                   (a)    Certify that this action may proceed as a class action as defined in
17
     ¶15 above;
18
                   (b)    Designate Mr. and Mrs. Jackson and Mr. Mellom as class
19
     representatives and designate Michael David Myers, Myers & Company, PLLC, and
20
     Richard E. Spoonemore and Eleanor Hamburger, Sirianni Youtz Spoonemore
21
     Hamburger PLLC, as class counsel;
22
                   (c)    Declare that Defendants’ unauthorized health insurance plans were
23
     and are illegal contracts;
24
                   (d)    Declare that Defendants’ actions as alleged herein towards the
25
     members of the class violate the Washington Consumer Protection Act;
26


                                                                           SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 13                                     SPOONEMORE HAMBURGER PLLC
                                                                        3101 WESTERN AVENUE, SUITE 350
                                                                           SEATTLE, WASHINGTON 98121
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
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 1
                  (e)    Order Defendants to (a) rescind the unauthorized health insurance
 2
     plans and refund all premiums improperly received from members of the proposed
 3
     class, including interest; or, at the option of any class member (b) reform the
 4
     unauthorized health insurance plans to comply with the minimum mandatory benefits
 5
     required under the relevant state insurance code, permit class members to submit claims
 6
     for medical services, costs and other expenses that would have been covered;
 7
                  (f)    Order payment of all other expenses causally related to Defendants’
 8
     unfair and deceptive acts;
 9
                  (g)    Order treble damages up to $25,000 for each CPA violation;
10
                  (h)    Order payment of reasonable attorneys’ fees; and
11
                  (i)    Grant such other relief as this Court may deem just, equitable and
12
     proper.
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           DATED: August 14, 2019.
14
      SIRIANNI YOUTZ                                MYERS & COMPANY, PLLC
15    SPOONEMORE HAMBURGER PLLC
16
         s/ Richard E. Spoonemore                      s/ Michael David Myers
17    Richard E. Spoonemore (WSBA #21833)           Michael David Myers (WSBA #22486)
                                                    1530 Eastlake Avenue East
18       s/ Eleanor Hamburger                       Seattle, WA 98102
      Eleanor Hamburger (WSBA # 26478)              Tel. (206) 398-1188; Fax (206) 400-1115
19
      3101 Western Avenue, Suite 350                Email: mmyers@myers-company.com
20    Seattle, WA 98121
      Tel. (206) 223-0303; Fax (206) 223-0246
21    Email: rspoonemore@sylaw.com
               ehamburger@sylaw.com
22

23                                    Attorneys for Plaintiffs

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                                                                       SIRIANNI YOUTZ
     CLASS ACTION COMPLAINT – 14                                 SPOONEMORE HAMBURGER PLLC
                                                                    3101 WESTERN AVENUE, SUITE 350
                                                                       SEATTLE, WASHINGTON 98121
                                                                  TEL. (206) 223-0303 FAX (206) 223-0246
